          Case 2:13-cr-06053-EFS                   ECF No. 188                filed 02/27/14              PageID.758 Page 1 of 1
O PS 8
(5/04)


                                   UNITED STATES DISTRICT COURT
                                                                            for
                                                   Eastern District of Washington


U.S.A. vs.                          Noga, James Lee                                         Docket No.             0980 2:13CR06053-002


                                      Petition for Action on Conditions of Pretrial Release

        COMES NOW Curt Hare, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant James Lee Noga, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
James P. Hutton sitting in the court at Yakima, Washington, on the 9th day of August 2013 under the following
conditions:
    Standard Condition No. 8: Defendant shall refrain from any use of alcohol or drugs, including marijuana, and may not use or possess any
                   controlled substance, defined in 21 U.S. C. § 802, unless prescribed by a licensed medical practitioner.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                          (If short insert here; if lengthy write on separate sheet and attach.)

   Violation No. 1: James Lee Noga is considered in violation of his pretrial supervision in the Eastern District of Washington by
                            admitting to the use of methamphetamine on or about January 17, 2014.

                            PRAYING THAT THE COURT WILL ADDRESS AT SENTENCING

                                                                                               I declare under the penalty of perjury
                                                                                               that the foregoing is true and correct.
                                                                                               Executed on:        02/04/2014
                                                                                   by          s/Curtis G. Hare


                                                                                               U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]       No Action
[ ]       The Issuance of a Warrant
[ ]       The Issuance of a Summons
[XX]      Other Address at sentencing.


                                                                                                  Signature of Judicial Officer
                                                                                                    February 27, 2014

                                                                                                  Date
